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                                        1   BRETT A. AXELROD, ESQ.                                      Electronically Filed May 8, 2023
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                                       10

                                       11                            UNITED STATES BANKRUPTCY COURT

                                                                               DISTRICT OF NEVADA
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                                       12
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                                       13   In re                                          Case No. BK-23-10423-mkn
          (702) 262-6899




                                       14                                                  Chapter 11
                                                    CASH CLOUD, INC.,
                                       15           dba COIN CLOUD                         CERTIFICATION OF BRETT A. AXELROD
                                                                                           PURSUANT TO LOCAL RULE 3017(C) IN
                                       16
                                                                        Debtor.            SUPPORT OF EX PARTE MOTION FOR
                                       17                                                  ORDER PURSUANT TO 11 U.S.C.
                                                                                           § 105(D)(2)(B)(VI), FED. R. BANKR. P. 3017.1
                                       18                                                  AND LOCAL RULE 3017 IMPLEMENTING
                                                                                           EXPEDITED SOLICITATION AND
                                       19                                                  CONFIRMATION PROCEDURES
                                       20                                                  INCLUDING: (I) CONDITIONALLY
                                                                                           APPROVING DISCLOSURE STATEMENT;
                                       21                                                  (II) SETTING COMBINED HEARING
                                                                                           ON FINAL APPROVAL OF DISCLOSURE
                                       22                                                  STATEMENT AND PLAN
                                                                                           CONFIRMATION;
                                       23
                                                                                           (III) APPROVING (A) FORM AND SCOPE
                                       24                                                  OF COMBINED HEARING NOTICE, AND
                                                                                           (B) FORM OF BALLOTS;
                                       25                                                  (IV) SCHEDULING VOTING AND
                                                                                           OBJECTION DEADLINES; AND
                                       26                                                  (V) GRANTING RELATED RELIEF
                                       27
                                                                                           [No Hearing Required]
                                       28

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                                        1           I, Brett Axelrod, declare under penalty of perjury as follows:

                                        2           1.       I am over the age of 18, have personal knowledge of the facts in this matter, and if

                                        3   called upon to testify, could and would do so.

                                        4           2.       I, Brett A. Axelrod, hereby certify pursuant to LR 3017(c) in support of Avery Land

                                        5   Group, LLC’s (the “Debtor”), Ex Parte Motion (the “Motion”)1 for an Order pursuant to Local Rule

                                        6   3017 (“LR 3017”): (1) granting conditional approval of the proposed Disclosure Statement (the

                                        7   “Disclosure Statement”) in connection with Debtor’s Chapter 11 Plan of Reorganization Dated May

                                        8   8, 2023 (the “Plan”); (3) approving (a) the form and scope of the notice of the hearing on final

                                        9   approval of the Disclosure Statement and confirmation of the Plan, and (b) the form of ballots for

                                       10   the Plan; and (4) approving the other deadlines and procedures, filed concurrently herewith, that:

                                       11   A.      Circumstances that Favor the Preliminary Approval of the Disclosure Statement:
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                                       12           3.       As set forth in the Motion, numerous circumstances favor the use of expedited chapter
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                                       13   11 procedures pursuant to LR 3017, including:
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                                       14           (i)      the Disclosure Statement contains adequate information;

                                       15           (ii)     the Plan must be confirmed by June 28, 2023 in order to prevent a default under

                                       16                    Debtor’s DIP Financing Agreement;2 and

                                       17           (iii)    avoiding the delay and duplication attendant to holding separate hearings will facilitate

                                       18                    the expeditious and efficient resolution of this complex and highly contested Chapter

                                       19                    11 Case.

                                       20

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                                       23           1
                                                        Capitalized terms not defined herein have the meanings assigned to them in the Motion.
                                                    2
                                       24           On February 8, 2023, the Debtor filed a Motion for Interim and Final Orders: (I) Authorizing
                                            Debtor to Obtain Post-petition Senior Secured, Superpriority Financing; (II) Granting Liens and
                                       25   Superpriority Claims; (III) Modifying the Automatic Stay; (IV) Scheduling Final Hearing; and (V)
                                            Granting Related Relief [ECF No. 35] (the “DIP Financing Motion”), seeking approval of a financing
                                       26
                                            agreement (the “DIP Financing Agreement”) for a debtor in possession loan in the aggregate amount
                                       27   of $5 million. On February 17, 2023, the Court entered its Interim Order approving the DIP
                                            Financing Motion on an interim basis [ECF No. 132] and a final basis [ECF No. 315, entered on
                                       28   March 20, 2023 (the “Final DIP Order”)].

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                                        1   B.      Number of Creditors, Value of Assets and Number of Claims in Debtor’s Schedules.

                                        2           4.     The factual information required per LR 3017(c)(ii) from Debtors’ bankruptcy

                                        3   schedules is as follows: approximately 2,400 total creditors; real property assets in the amount of

                                        4   $20,847.70, and approximately $71,041,124.61 in personal property assets on Schedule B, which

                                        5   consisted of machinery, equipment and crypto currency. As set forth in the Schedules, the total

                                        6   liabilities consist of the following: (1) $15,578,790.92 in secured claims; (2) $96,012.69 in priority

                                        7   claims; and (3) $127,460,471.78 in unsecured claims.3

                                        8   C.      The Proposed Disclosure Statement Contains the Information Required by Official

                                        9           Form 25B.

                                       10           5.     Debtor’s proposed Disclosure Statement contains the information required by Official

                                       11   Form 25B, including: (a) a statement regarding Debtor’s background, ownership, and pre-bankruptcy
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                                       12   operating and financial history [Disclosure Statement, Art. III, §§ 3.1-3.2]; (b) a discussion of the
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                                       13   reason for the bankruptcy filing [Disclosure Statement, Art. III, § 3.3]; (c) a summary of proceedings
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                                       14   to date in the bankruptcy case [Disclosure Statement, Art. IV]; (d) a summary of assets [Disclosure

                                       15   Statement, Art. III, § 3.2.B]; (e) a description of unclassified claims, including estimated amounts of

                                       16   administrative and priority claims [Disclosure Statement, Art. V, § 5.1]; (f) a description of claims

                                       17   by class, including an estimate of the amount of claims in each class as reflected by the schedules

                                       18   and proofs of claim on file [Disclosure Statement, Art. V, § 5.2]; (g) a summary of the treatment of

                                       19   unclassified and classified claims under the proposed plan [Disclosure Statement, Art. V, §§ 5.1-

                                       20   5.2]; (h) A discussion of the means of implementing the proposed plan [Disclosure Statement, Art.

                                       21   V, § 5.5]; (i) a summary of risk factors [Disclosure Statement, Art. IX, §§ 9.11-9.12, Art. X]; (j) a

                                       22   discussion of the tax consequences of the proposed plan [Disclosure Statement, Arts. VI & VII]; (k)

                                       23   a summary of the treatment of executory contracts under the proposed plan [Disclosure Statement,

                                       24   Art. V, § 5.4]; (l) liquidation analysis [Disclosure Statement, Art. IV, § 9.11]; and (m) a statement as

                                       25   to how the proponent intends to achieve the payments proposed [Disclosure Statement, Art. V, §

                                       26   5.5.A.- 5.5.B.].

                                       27
                                            3
                                             On March 9, 2023: Debtor filed its Schedules and Statement of Financial Affairs [Docket Nos. 239
                                       28
                                            & 240].
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                                        1           6.     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is

                                        2   true and correct.

                                        3           DATED this 8th day of May 2023.

                                        4
                                                                                                        /s/Brett Axelrod
                                        5                                                               BRETT AXELROD
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